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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

                                                                      Electronically Filed

THE HONORABLE ORDER OF                      )
KENTUCKY COLONELS, INC.                     )
                                            )
        PLAINTIFF                           )
                                            )
                                            )
V.                                          )   CIVIL ACTION 3:20CV-132-RGJ-RSE
                                            )
KENTUCKY COLONELS                           )
INTERNATIONAL, et al.                       )
                                            )
                                            )
        DEFENDANTS                          )


                          AGREED PERMANENT INJUNCTION


        Plaintiff The Honorable Order of Kentucky Colonels, Inc. ("HOKC") and Defendants

David J. Wright; Kentucky Colonels International (defunct); Globcal International; and

Ecology Crossroads Cooperative Foundation, Inc. (collectively "Defendants") being in

agreement and having moved the Court for entry of this Agreed Permanent Injunction, adopting

and incorporating the analysis, findings, and conclusions reached in the Court's Order dated

August 13, 2020, further negotiated in a Settlement Conference on December 29, 2020 thereby

converting the Preliminary Injunction reflected therein to a similar Agreed Permanent

Injunction, and the Court being otherwise duly and sufficiently advised,

        IT IS HEREBY AGREED, ORDERED AND ADJUDGED as follows:
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       1.     Defendants and anyone acting on their behalf, including their owners, members,

officers, agents, contractors, employees, attorneys, and any other persons in active concert or

participation with Defendants, are permanently enjoined and prohibited from using the

KENTUCKY COLONELS Mark, or any mark that is confusingly similar to the KENTUCKY

COLONELS Mark, including, but not limited to, KENTUCKY COLONELS INTERNATJONAL

and KENTUCKY COLONEL FOUNDATION, on or in connection with the sale of any goods or

services including, but not limited to, the solicitation of charitable donations and the promotion of

charitable and philanthropic causes.

       2.     Defendants and anyone acting on their behalf, including their owners, members,

officers, agents, contractors, employees, attorneys, and any other persons in active concert or

participation with Defendants, are permanently enjoined and prohibited from using the

KENTUCKY COLONELS Mark, or any mark that is confusingly similar to the KENTUCKY

COLONELS        Mark,     including,    but   not    limited   to,   KENTUCKY          COLONELS

INTERNATIONAL and KENTUCKY COLONEL FOUNDATION, on any website, social

media page, or blog in such a way as is likely to cause consumers to be confused, mistaken, or

deceived into believing that HOKC has sponsored, sanctioned, approved, licensed, or is any

way affiliated with Defendants or any organization or cause sponsored or supported by

Defendants.

       3.     Defendants and anyone acting on their behalf, including their owners, members,

officers, agents, servants, employees, attorneys, and any other persons in active concert or

participation with Defendants, are permanently enjoined and prohibited from using the domain

names [kycolonels.international], [kentucky.colonels.net], or any other domain name that is

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confusingly similar to [kycolonels.org] or any domain name that incorporates the KENTUCKY

COLONELS Mark, or any mark that is confusingly similar to the KENTUCKY COLONELS

Mark, including, but not limited to, KENTUCKY COLONELS INTERNATIONAL and

KENTUCKY COLONEL FOUNDATION.

      4.      Defendants and anyone acting on their behalf, including their owners, members,

officers, agents, contractors, employees, attorneys, and any other persons in active concert or

participation with Defendants, are permanently enjoined and prohibited from using Facebook or

any other social media platfonn usernames "Kentucky Colonels International" or "Kentucky

Colonel Foundation" or any other username or handle that is confusingly similar to the

trademark KENTUCKY COLONELS for the purposes of forming a membership organization,

a civil society association or other non-commercial activity such as an event or charitable

fundraising endeavor.

       5.     Notwithstanding the aforestated prohibitive terms and conditions, this Agreed

Permanent Injunction does not prohibit the Defendant, Col. David J. Wright or other Kentucky

colonels (as individuals) from using "Kentucky Colonel," "Kentucky colonels" and/or

"Kentucky colonelcy" as words or terms to describe Kentucky colonels, as an a honorary title,

or for editorial, educational, informative, journalistic, literary or other non-commercial

purposes so long as the use is not related to the trademark or service mark uses registered, or

pending, by the HOKC with the U.S. Patent and Trademark Office.

      6.     The Court shall retain jurisdiction to enforce this Agreed Permanent Injunction

and the terms of the Settlement Agreement entered by the parties for no less than ten (10) years.



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    February 23, 2021
